         Case 18-10841-elf                 Doc 8 Filed 02/08/18 Entered 02/08/18 13:18:39                               Desc Ch 7
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Information to identify the case:
Debtor 1              Damien Aguocha                                                   Social Security number or ITIN        xxx−xx−4660
                      First Name   Middle Name     Last Name                           EIN 80−0704943
Debtor 2              Obioma Ulumma Aguocha                                            Social Security number or ITIN        xxx−xx−4990
(Spouse, if filing)
                      First Name   Middle Name     Last Name                           EIN     80−0704943
United States Bankruptcy Court            Eastern District of Pennsylvania             Date case filed for chapter 7 2/6/18

Case number:          18−10841−elf


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15
**Debtor's Photo ID & Social Security Card Must Be Presented at 341 Hearing**

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Damien Aguocha                                      Obioma Ulumma Aguocha

2.      All other names used in the dba Good Heart Pharmacy, Inc.                                    dba Good Heart Pharmacy, Inc.
        last 8 years

3.     Address                               2 Fawn Lane                                             2 Fawn Lane
                                             Boothwyn, PA 19061                                      Boothwyn, PA 19061

4.     Debtor's attorney                         LAWRENCE S. RUBIN                                  Contact phone (610) 565−6660
                                                 Lawrence S. Rubin, Atty.                           Email: echo@pennlawyer.com
       Name and address                          337 West State Street
                                                 Media, PA 19063−2615

5.     Bankruptcy trustee                        GARY F. SEITZ                                      Contact phone 215−238−0011
                                                 Gellert Scali Busenkell & Brown LLC                Email: gseitz@gsbblaw.com
       Name and address                          The Curtis Center
                                                 601 Walnut Street
                                                 Suite 750 West
                                                 Philadelphia, PA 19106
                                                                                                               For more information, see page 2 >
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Debtor Damien Aguocha and Obioma Ulumma Aguocha                                                                       Case number 18−10841−elf


6. Bankruptcy clerk's office                    900 Market Street                                            Office Hours: Philadelphia Office
                                                Suite 400                                                    −− 8:30 A.M. to 5:00 P.M Reading
    Documents in this case may be filed at this Philadelphia, PA 19107                                       Office −− 8:00 A.M. to 4:30 P.M.
    address. You may inspect all records filed
    in this case at this office or online at
    www.pacer.gov.                                                                                           Contact phone (215)408−2800

                                                                                                             Date: 2/8/18



7. Meeting of creditors                          March 6, 2018 at 02:30 PM                                   Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a              Office of the U.S. Trustee,
    questioned under oath. In a joint case,      later date. If so, the date will be on the court            Meeting Room, Suite 501, 833
    both spouses must attend. Creditors may
    attend, but are not required to do so.       docket.                                                     Chestnut Street, Philadelphia, PA
                                                                                                             19107

8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                Filing deadline: 5/5/18
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
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